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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 8:19-cv-01257-JFW-PJWx

 

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, ifany) — Experian Information Solutions, Inc. c/o CT Corporation Syste
was received by me on (date) 06/28/2019

1 T personally served the summons on the individual at (place)

on (date) 5 or

OT left the summons at the individual’s residence or usual place of abode with panes

. a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

of I served the summons on (name of individual) Katie Van Winkle , who is
designated by law to accept service of process on behalf of (name of organization) Experian Information
Solutions - CT Corporation System- Registered Agent On (dates Q7/02/2019@2PM var

O Treturned the summons unexecuted because > or

O Other (specify):

My fees are $ for travel and $ for services, fora total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: 07/02/2019 OSE mbo4

Server's signature

Tina L. Schroeder - Private Process Server

Printed name and title

IntoCorp Investigative Services, LLU
194 Oak Street
Columbus, Ohio 43235-6447

Server's address

Additional information regarding attempted service, etc:
Location of Service: 4400 Easton Commons Way, Suite 125, Columbus, Ohio 43219
